        Case 2:03-cr-00535-JAM Document 153 Filed 11/18/09 Page 1 of 4


                      RECOMMENDATION TERMINATING
               SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA                   )
                                           )
                            vs.            )       Docket Number: 2:03CR00535-02
                                           )
Carlo Ricardo MIRELES                      )
                                           )




LEGAL HISTORY:

On September 11, 2007, the above-named was sentenced to 16 months custody in the
Bureau of Prisons to be followed by a term of Supervised Release for a period of 3 years,
which commenced on March 21, 2008. Special conditions included: Search; Financial
disclosure; and Do no incur new credit charges or open additional lines of credit without
approval of the probation officer.


SUMMARY OF COMPLIANCE:

Mr. Mireles is supervised in the District of Hawaii. He has complied with all conditions and
special conditions of Supervised Release, and has not been involved in any further criminal
activities. It is the opinion of the probation officer that Mr. Mireles has derived maximum
benefit from supervision and is not in need of continued supervision.




                                                                                       Rev. 04/2007
                                               1          EARLY TERMINATION ~ RECOMMENDATION.MRG
          Case 2:03-cr-00535-JAM Document 153 Filed 11/18/09 Page 2 of 4


RE:      Carlo Ricardo MIRELES
         Docket Number: 2:03CR00535-02
         RECOMMENDATION TERMINATING
         SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


RECOMMENDATION:

It is, therefore, respectfully recommended that Supervised Release in this case be
terminated early.

                                       Respectfully submitted,


                                   /s/ Deborah A. Spencer
                                  DEBORAH A. SPENCER
                         Supervising United States Probation Officer


Dated:           October 28, 2009
                 Elk Grove, California
                 DAS/cj



cc:      AUSA Robert Tice-Raskin (Pursuant to Rule 32, notice of proposed relief to the supervisee is
         being provided. If no objection is received from you within 14 days, the probation officer's
         Recom m endation and Prob 35-Order Term inating Supervised Release Prior to Expiration Date, will
         be subm itted to the Court for approval.)




                                                                                                Rev. 04/2007
                                                    2              EARLY TERMINATION ~ RECOMMENDATION.MRG
             Case 2:03-cr-00535-JAM Document 153 Filed 11/18/09 Page 3 of 4


P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA                         )
                                                 )
                            vs.                  )     Docket Number: 2:03CR00535-02
                                                 )
Carlo Ricardo MIRELES                            )
                                                 )


On March 21, 2008, the above-named was placed on Supervised Release for a period of 3
years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                   Respectfully submitted,


                                 /s/ Deborah A. Spencer
                                DEBORAH A. SPENCER
                       Supervising United States Probation Officer


Dated:         October 28, 2009
               Elk Grove, California
               DAS/cj




                                                                                                        R ev. 05/2006
                                             3               E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
          Case 2:03-cr-00535-JAM Document 153 Filed 11/18/09 Page 4 of 4


RE:   Carlo Ricardo MIRELES
      Docket Number: 2:03CR00535-02
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                      ORDER OF COURT

It is ordered that the supervised releasee be discharged from Supervised Release, and that
the proceedings in the case be terminated.

November 17, 2009                               /s/ John A. Mendez
Date                                             John A. Mendez
                                                 United States District Judge

DAS/cj

Attachment: Recommendation

cc: United States Attorney's Office




                                                                                                        R ev. 05/2006
                                            4                E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
